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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                     No. 4:06CR00082 JLH

SAMUEL GONZALES BRIONES and
HAROLD JEROME KELLEY


                               FINAL ORDER OF FORFEITURE

       WHEREAS, on June 20, 2007, this Court entered an Amended Preliminary Order of

Forfeiture, ordering defendants to forfeit their interest in the following:

       SAMUEL BRIONES:

       (1)     Four pieces of white gold jewelry as listed below:
               (a)    White gold rope chain, with diamond encrusted key pendant;

               (b)     White gold and diamond bracelet;

               (c)     White gold ring with diamond setting; and
               (d)     Diamond studded earring, one (1)

                       The government does not seek forfeiture of the Rolex, diamond encrusted

               (e)     One Glock Model 21, semi-automatic handgun, serial number XN720

       HAROLD KELLEY:

       (1)     2000 Honda Accord, green in color, 4 door, VIN: JHMCG5670YC032577;

       (2)     2004 Suzuki Motorcycle, VIN: JSIGW71A742104566;

       (3)     $2,000 in U. S. Currency seized from Jacquelyn Porchay’s safety deposit box; and

       (4)     $191,612.00 in U. S. Currency;

       (5)     Harold Kelley’s interest in a 2004 Cadillac Escalade, seized in Washington in 2007
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        WHEREAS, the United States caused to be published in the Arkansas Democrat Gazette, a

newspaper of general circulation, notice of this forfeiture and of the intent of the United States to

dispose of the property in accordance with the law and as specified in the Amended Preliminary

Order, and further notifying all third parties of their right to petition the Court within thirty (30) days

for a hearing to adjudicate the validity of their alleged legal interest in the property;

        WHEREAS, the United States also provided actual notice to all known interested parties,

including to the defendants;

        WHEREAS, the two claims that were filed have been adjudicated and no other claims were

filed by any persons with respect to any of the property described herein;

        WHEREAS, the Cadillac Escalade was returned to Yolanda Summons and her claim was

withdrawn;

        WHEREAS, the claim of Jackie Porchay was dismissed.

        IT IS ORDERED that all right, title, and interest in all of the property set forth above is

hereby forfeited to the United States, and the United States Marshal shall dispose of such property

according to law.

        SO ORDERED this 20th day of August, 2007.



                                                         __________________________________
                                                         UNITED STATES DISTRICT JUDGE
